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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF VIRGINIA
                         HARRISONBURG DIVISION

UNITED STATES OF AMERICA,                    )
                                             )
                                             )        Case No. 5:16-cr-6
v.                                           )
                                             )
SUSAN MARIE MOORE,                           )        By: Michael F. Urbanski,
    Defendant.                               )        Chief United States District Judge

                            MEMORANDUM OPINION

       This matter comes before the court on defendant Susan Marie Moore’s pro se motion

for compassionate release pursuant to 18 U.S.C. § 3582(c)(1)(A). ECF No. 38. The Federal

Public Defender supplemented Moore’s request. ECF No. 41. The government opposes the

motion. ECF No. 45. For the reasons stated herein, the court DENIES Moore’s motions.

                                                 I.

       On June 15, 2016, Moore entered into a written plea agreement in which she pleaded

guilty to one lesser-included count of knowingly and intentionally distributing a quantity of a

mixture or substance containing heroin, in violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(C).

ECF No. 14. On February 15, 2017, Moore was sentenced to seventy-two (72) months of

incarceration. J., ECF No. 33. Moore was released from federal incarceration to a halfway

house then to home confinement but was arrested for violating the conditions of home

confinement. ECF No. 41 at 3. Moore currently is housed at the Central Regional Jail (CRJ)

in Sutton, West Virginia and has a discharge date of August 18, 2021.

       Moore seeks compassionate release under 18 U.S.C. § 3582(c)(1)(A), arguing that the

deteriorating health of her extremely premature infant constitutes an “extraordinary and
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compelling” reason warranting a sentence reduction. Moore asks the court to reduce her

sentence to time served. As this matter is fully briefed, it is ripe for disposition. 1

                                                    II.

          The compassionate release statute, 18 U.S.C. § 3582(c)(1)(A), as amended by the First

Step Act (“FSA”), authorizes courts to modify terms of imprisonment as follows:

                 The court may not modify a term of imprisonment once it has
                 been imposed except that—in any case—the court, upon motion
                 of the Director of the Bureau of Prisons, or upon motion of the
                 defendant after the defendant has fully exhausted all
                 administrative rights to appeal a failure of the Bureau of Prisons
                 to bring a motion on the defendant’s behalf or the lapse of 30
                 days from the receipt of such a request by the warden of the
                 defendant’s facility, whichever is earlier, may reduce the term of
                 imprisonment (and may impose a term of probation or
                 supervised release with or without conditions that does not
                 exceed the unserved portion of the original term of
                 imprisonment), after considering the factors set forth in section
                 3553(a) to the extent that they are applicable, if it finds that—

                 (i) extraordinary and compelling reasons warrant such a reduction
                 . . . and that such a reduction is consistent with applicable policy
                 statements issued by the Sentencing Commission.

          Accordingly, Moore’s requested relief requires the court to consider (1) if she exhausted

her administrative remedies; (2) if so, whether there are extraordinary and compelling reasons

that warrant a reduction in her sentence; and (3) if so, what, if any sentence reduction is

appropriate after considering the applicable 18 U.S.C. § 3553(a) factors and whether Moore is

a danger to the safety of the community.

     i.      The exhaustion requirement has been waived.



1 The court dispenses with oral argument because the facts and legal contentions are adequately presented in
the materials before this court and argument would not aid the decisional process.
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       The compassionate release statute requires that a petitioner exhaust her administrative

remedies prior to bringing a motion before the district court. See 18 U.S.C. § 3582(c)(1)(A).

Pursuant to the statute, a petitioner may bring a motion “after the defendant has fully

exhausted all administrative rights to appeal a failure of the [BOP] to bring a motion on the

defendant’s behalf or the lapse of 30 days from the receipt of such a request by the warden of

the defendant’s facility, whichever is earlier.” Id. This exhaustion requirement may be waived

under the following circumstances: (1) where it would be futile; (2) where the administrative

process would be incapable of granting adequate relief; or (3) where pursuit of agency review

would subject the petitioner to undue prejudice. See United States v. Poulios, No. 2:09-cr-109,

2020 WL 1922775, at *1 (E.D. Va. Apr. 21, 2020); see also United States v. Crawford, No.

2:03-cr-10084, 2020 WL 2537507, at *1 (W.D. Va. May 19, 2020) (finding that the exhaustion

requirement has been waived where defendant had not fully exhausted his administrative

remedies); United States v. Zuckerman, 451 F. Supp. 3d 329, 332 (S.D.N.Y. 2020) (citing

Washington v. Barr, 925 F.3d 109, 118 (2d Cir. 2019) (“Even where exhaustion is seemingly

mandated by statute . . ., the requirement is not absolute.”)).

       Moore is housed at the CRJ in Sutton, West Virgnia, which is not a BOP facility. As

such, the court finds that all three exceptions justifying waiver of the exhaustion requirement

are present. First, it would have been futile to require Moore to seek compassionate release

because she was not housed in a BOP facility. Second, even if Moore had sought

compassionate release from the CRJ, it did not have the authority to grant her the sought-after

relief because it is a state facility. Finally, because it was unclear if or when she would be

transferred to a BOP facility, it would have caused her undue prejudice to require her to wait


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for such transfer before being able to begin the administrative remedy procedure. The

government did not mention the exhaustion issue in its response to Moore’s motion. See ECF

No. 45. Accordingly, the court finds that the exhaustion requirement has been waived.

   ii.      Moore does not present extraordinary and compelling reasons to warrant a
            sentence reduction.

         The court must next consider if it should “reduce the term of imprisonment.” 18 U.S.C.

§ 3582(c)(1)(A). The United States Sentencing Guidelines Manual (“U.S.S.G.”) § 1B1.13

application notes state that “extraordinary and compelling reasons” exist where (A) the

defendant is suffering from a terminal or serious medical condition; (B) the defendant is over

65 years old, has failing health, and has served at least ten years or 75 percent of her sentence,

whichever is less; (C) the caregiver of the defendant’s minor child dies or becomes

incapacitated, or the defendant’s spouse or partner becomes incapacitated and the defendant

is the only available caregiver; or (D) as determined by the Director of the BOP, for “other

reasons” than, or in combination with, those described in Application Notes (A)-(C). Id. at

cmt. n.1(A)-(D).

         The court asked the United States Probation Office (USPO) to inquire about Moore’s

status and that of her infant daughter. In response, the USPO filed a letter with the court on

July 21, 2021. ECF No. 48 (filed under seal). In light of the information in the letter, the court

finds that Moore’s situation does not present an “extraordinary and compelling” reason to

reduce Moore’s sentence.




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        On May 29, 2021, Moore gave birth when she was twenty-five (25) weeks pregnant to

her youngest child.2 ECF No. 38 at 1. Although the child weighed only one pound and seven

ounces at birth and remains hospitalized, she is now described as being in stable condition. At

this time, neither Moore nor any member of her family has custody of the child. Rather, the

child is in the custody of Child Protective Services and will be placed in foster care when she

gains weight and is discharged from the hospital. Thus, at this time, although the court is

sympathetic to Moore’s desire to see her child, if she were released from custody it is not clear

that she would be allowed to see the child given that she does not have custody of her.

Accordingly, Moore has not demonstrated that there are “extraordinary and compelling”

reasons to warrant a sentence reduction under § 3582(c)(1)(A) and the court must deny her

motion.3

                                                      III.

        For these reasons, the court DENIES Moore’s motion for compassionate release,

ECF Nos. 38, 41. The clerk is directed to send a copy of this memorandum opinion to

the defendant, her counsel of record, and the government.

        It is so ORDERED.

                                                             Entered:       August 1, 2021
                                                                                   Michael F. Urbanski
                                                                                   Chief U.S. District Judge
                                                                                   2021.08.01 15:26:07 -04'00'
                                                             Michael F. Urbanski
                                                             Chief United States District Judge

2 Babies born before twenty-eight (28) weeks of pregnancy are considered extremely premature, and if they
survive, face a substantial risk of lifelong disability. See Am. Coll. of Obstetricians & Gynecologists, Extremely
Preterm Birth FAQ, https://www.acog.org/womens-health/faqs/extremely-preterm-birth (last visited July 14,
2021).
3 Because the court finds that M o o r e has not presented extraordinary and compelling reasons to warrant

areduction in his sentence, it need not determine if the § 3553(a) factors weigh in favor of her release.


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